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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Bo ee x
UNITED STATES OF AMERICA :
20-cr-188 (JSR)
-y-
OPINION
HAMID AKHAVAN & RUBEN WEIGAND,
Defendants.
eee x

JED S. RAKOFF, U.S.D.d.

From March 1 through March 24, 2021, this Court sat for a
jury trial that culminated in the conviction of both defendants on
the sole charge, conspiracy to commit bank fraud. The Court took
extraordinary steps to facilitate public access to this trial,
despite the pandemic. This opinion concerns one of those steps:
permitting members of the press to view trial exhibits remotely.

During the trial, Matthew Russell Lee, a reporter for Inner
City Press, emailed a letter to Chambers requesting access to
(1) the unredacted version of a letter from the Government to the
Court, which had been filed on the docket in redacted form during
trial, and (2) all trial exhibits. Following expedited briefing,
the Court granted the reporter’s request by bottom-line Order dated
March 15, 2021. See ECF No. 232. This Opinion explains the

reasons for that Order.
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LEGAL STANDARDS
The reporter’s request implicates two rights, related but
distinct.

A. Common Law Right of Access to Judicial Documents

 

First, there is a “common law right of public access to
judicial documents [{] firmly rooted in our nation's history.”

Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir.

 

2006). “The presumption of access is based on the need for federal
courts, although independent--indeed, particularly because they
are independent--to have a measure of accountability and for the
public to have confidence in the administration of justice.” Id.

Adjudicating a claim regarding the common law right of public
access is a three-step process. “TA] court must first conclude
[whether] the documents at issue are indeed ‘judicial documents.’”
Id. at 119-20. A filing is a judicial document if and only if
“the item filed [is] relevant to the performance of the judicial
function and useful in the judicial process.” Id. at 120. “TA]
common law presumption of access attaches” to judicial documents.
Id.

The second step is to “determine the weight of that
presumption,” by looking to “the role of the material at issue in
the exercise of Article III judicial power and the resultant value
of such information to those monitoring the federal courts.” Id.

On one end of the “continuum” are “matters that directly affect an
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adjudication,” and on the other are “matters that come within a

court's purview solely to [e]nsure their irrelevance.” Id.

The final step is to “balance competing considerations

against [the presumption of public access].” Id. at 120.

Competing considerations “include but are not limited to the danger
of impairing law enforcement or judicial efficiency and the privacy
interests of those resisting disclosure.” Id.

B. Qualified First Amendment Right of Attendance and Access

 

Second, there is a “qualified First Amendment right to attend
judicial proceedings and to access certain judicial documents.”

Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004).

 

To assess whether members of the public have a qualified First
Amendment right to attend a proceeding or access a document, courts
in this Circuit ask whether the type of exhibit or proceeding at
issue “ha[s] historically been open to the press and general
public” and whether “public access plays a significant positive
role in the functioning of the particular process in question.”

Id. (quoting Press-Enterprise Co. v. Superior Court, 478 U.S. I,

 

8). When a movant seeks access to evidence, courts in this Circuit
also ask whether it is “derived from or [is] a necessary corollary
of the capacity to attend the relevant proceedings.” Id. at 93.
If the public has a qualified First Amendment right of access,
then the Court may only seal the relevant proceeding or evidence

“if specific, on the record findings are made demonstrating that
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closure is essential to preserve higher values and is narrowly
tailored to serve that interest.” Lugosch, 435 F.3d at 121

(quoting In re New York Times Co., 828 F.2d 110, 116 (2d Cir.

 

1987)) (internal quotation marks omitted); accord United States v.

 

Aref, 533 F.3d 72, 81-82 (2d Cir. 2008). For example, “documents
used by parties moving for, or opposing, summary judgment should
not remain under seal absent the most compelling reasons,” because
“[La]n adjudication is a formal act of government, the basis of
which should, absent exceptional circumstances, be subject to
public scrutiny.” Lugosch, 435 F.3d at 121 (quoting Joy v. North,
692 F.2d 880, 893 (2d Cir. 1982)).
ANALYSIS

As noted, the reporter requested access to a letter from the
Government to the Court filed with redactions at ECF No. 224. He
also requested access to all exhibits received in evidence at
trial.?t

T. Government Letter, ECF No. 224

 

First, the reporter sought to access an unredacted copy of a
letter from the Government to the Court filed on March 8 in

opposition to a letter from the defense to the Court filed the

 

1 In addition, the reporter requested access to an exhibit attached
to the Government’s motions in limine. See ECF No. 170, Exhibit
B. That document was ultimately received in evidence at trial, so
this Opinion considers that request in tandem with the request for
other trial exhibits.
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previous day. That defense letter, in turn, sought relief for the
Government’s alleged mishandling of electronic data belonging to
cooperating witness Oliver Hargreaves.

No one disputes that the Government’s letter is a “judicial
document” to which a common law right of public access attaches.
The Court considered the letter in connection with the defendants’
reguest for relief relating to Hargreaves’s electronic data, so
the letter was “relevant to the performance of the judicial
function and useful in the judicial process,” and, therefore, “a
common-law presumption of access attaches.” Lugosch, 435 F.3d at
120.

The weight of that presumption of access is moderate. This
was not a document that bore on the Court’s adjudication of a
dispositive motion, but neither was it a document that the Court
examined solely to determine its relevance or admissibility. It
was a legal brief on an evidentiary issue, so the Court finds that
the common law presumption of access has moderate weight.

The Court balanced this presumption against the contrary
interests articulated by the parties. The Government opposed the
reporter’s request for the unredacted letter because it “contains

references to 3500 material that is covered by the Court’s
order governing 3500 material.” Gov’t Opp. to Reporter Ltr., ECE
No. 225 (“Gov’t Opp.”). The defense agreed. Def’ts’ Ltr. Opp. to

Reporter Ltr., ECF No. 233 (“Def. Opp.”), at 2.
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To be sure, the letter in question references 3500 materials,
and 3500 materials are covered by the Court’s protective order.
But the protective order only limits disclosure of 3500 materials
by the defendants, their attorneys, and people to whom the
defendants disclose the materials. See Protective Order, ECF No.
118. The protective order does not limit the Government’s ability
to cite its own 3500 materials, including in letters to the Court.
When the Government chose to do so, it ran the risk that the public
might have a right to access such information to fully understand
the basis for the Court’s ruling. “[T]Jhose monitoring the federal
courts,” Lugosch, 435 F.3d at 120, are not prohibited from viewing
information the Court considered in reaching an evidentiary
decision merely because that information was also contained in
3500 materials.

The Government also argued, vaguely, that the redacted
portions of its letter include “references to proactive
cooperation.” Gov’t Opp. In appropriate instances, protecting
the integrity of law enforcement activities and ensuring the safety
of cooperating witnesses often will undoubtedly warrant
redactions. Here, however, the Government’s asserted interest was
insufficient because the redacted portions reveal little beyond
what Hargreaves had already testified to in open court. See Trial
Tr. 650-651 (Hargreaves testifying that he “cooperate[d] with U.S.

law enforcement authorities,” both in connection with “the

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extortion scheme that led to [his] arrest” and the EHEaze.com
scheme). The redacted portions go beyond Hargreaves’s testimony
by characterizing Hargreaves’s cooperation in other investigations
as “proactive” and by revealing that his cooperation involved the
use of a cell phone. But the Government’s cursory opposition did
not demonstrate that these minor revelations posed a risk either
to the witness or to an investigation.

For these reasons, the parties’ interests in redaction did
not outweigh the common law presumption of public access, so the
Court ordered the Government to file an unredacted copy of the
letter on the docket (which it has now done, see ECF No. 234).

II. Trial Exhibits

The reporter also requested access to the exhibits that were
received in evidence at trial.?

Recent case law on the common law right of access to judicial
documents is generally couched in terms of ensuring public
oversight of the judge’s function. (This is likely because jury
trials have grown lamentably rare.) However, the public has a
similar right to access documents presented to the jury, and in

criminal cases, this right stems from not only the common law, but

 

2 The reporter’s letter was imprecise and could have been construed
to request only exhibits offered by the Government, but, to avoid
piecemeal litigation and in an exercise of its inherent authority
to ensure public access, the Court construed the letter to seek
all exhibits received in evidence, whether offered by the
Government or the defense.
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also the Sixth Amendment guarantee of a “public trial.” Indeed,
the Second Circuit has explained that “the public has an especially
strong right of access to evidence introduced in trials.” United

States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995) (internal

 

quotation marks and citation omitted). Thus, here, the trial
exhibits are judicial documents to which an “especially strong”
common law presumption of access applies.

Furthermore, the public holds a qualified First Amendment
right of access to these documents because they are “derived from

the relevant proceedings” and, for some remote participants,
were “a necessary corollary of the capacity to attend” the trial.
Hartford Courant, 380 F.3d at 93.

To explain the latter point, the Court offers a few
observations regarding the COVID-19 protocols that the Southern
District of New York has employed throughout the pandemic and that
were carefully observed during this trial. Under the devoted
leadership of Chief Judge Colleen McMahon and with the never-
failing assistance of the Court’s splendid employees, the District
restricted courthouse entry, excluding until proven safe those who
exhibited COVID-related symptoms, had engaged in interstate or
international travel, or who had close contact with infectious or
potentially infectious people. For example, lawyers and witnesses

who live outside of New York and its adjacent states had to receive
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two negative SARS-CoV-2 test results, one before traveling to New
York and one several days after arriving.?

Given these entry restrictions, some members of the public
would have been unable to enter the courthouse to view this trial.
Therefore, the Court took several extraordinary steps to
facilitate remote access to the courtroom. A second “overflow”
courtroom offered a video feed of the proceedings, in case the
number of attendees exceeded the number of socially distanced seats
in the courtroom. Opening and closing arguments were transmitted
to the Press Room at 500 Pearl Street. And a telephonic dial-in

number was posted on the docket, allowing anyone to listen in.#

 

3 In addition to entry restrictions, the District adopted
protocols to protect those inside the courthouse. During trial,
everyone was required to wear two masks or a single N95 or KN9S
mask, except witnesses and examining attorneys, who were only
permitted to remove their masks while within plexiglass boxes
containing air filtration systems. The layouts of the courtroom
and jury deliberation room were carefully designed ~-- based on the
guidance of a public health expert and on-site study, including
smoke tests -- to ensure sufficient social distancing. The Court
is happy to report that these safety measures worked. In a global
pandemic, no entry protocol can eliminate the possibility that
someone enters the building while infectious; indeed, during the
trial, the court excused one juror who tested positive for COVID-
19 and another who might have been exposed to an infected family
member. But all jurors were tested for COVID-19 after the juror
tested positive, and the remaining jurors all tested negative.

4 The Court does not mean to suggest that these extraordinary
efforts to facilitate remote access were necessary under the Public
Trial Clause or otherwise. Rather, the Court exceeded the
constitutional floor to promote the principle that the public
should have ready access to the courts, even during a pandemic.
See Presley v. Georgia, 558 U.S. 209, 215 (2010) (“Trial courts
are obligated to take every reasonable measure to accommodate

 

 
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For those who would have been excluded at the courthouse door
due to travel, COVID-19 symptoms, or the like, their only way to
access the testimony of this trial during the pandemic was by
telephone. Permitting them to access trial exhibits
electronically was, therefore, “a necessary corollary of the[ir]
capacity to attend” the trial. Hartford Courant, 380 F.3d at 93.
Accordingly, members of the public had a qualified First Amendment
right of access to the trial exhibits.

Against the “especially strong” common law presumption of
access and the qualified First Amendment right of access, the Court
weighed competing considerations offered by the parties. The
defense opposed the reporter’s request in its entirety, arguing
that the reporter was entitled only to the same access that
courtroom attendees had: to attend trial and view the exhibits as
they were displayed on-screen in the courtroom. Given the
circumstances presented by the pandemic, as previously described,
the Court disagreed. Indeed, the defense’s argument would be
dubious even absent the pandemic. The Second Circuit has opined
that “there is a presumption in favor of public inspection and
copying of any item entered into evidence at a public session of

a trial.” In re Application of Nat’l Broad. Co., Inc., 635 F.2d

 

945, 952 (2d Cir. 1980) (hereinafter “NBC”). When an item is

 

public attendance at criminal trials.”).

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received in evidence, it “bec[omes] known to the members of the
public, including representatives of the press, through their
attendance at a public session of court”; therefore, “it would
take the most extraordinary circumstances to justify restrictions
on the opportunity of those not physically in attendance at the
courtroom to see and hear the evidence, when it is in a form that
readily permits sight and sound reproduction.” Id. The NBC panel
permitted television networks to copy and broadcast a videotape
received in evidence at trial. This Court, likewise, permitted
those attending the trial remotely to view the trial exhibits
remotely.

The Government did not oppose the reporter’s request for
access to trial exhibits, but it did ask that it be permitted to
redact sensitive personally identifying information and bank
records before sharing exhibits with the press. On reply, the
reporter did not object to this proposal, which the Court adopted
in its bottom-line Order. The Court found that the interest of
the affected individuals and entities in preventing public access
to their sensitive personally identifying information and bank
records outweighed the especially strong common law presumption of
access, and the Court found that redaction of such information
“[wa]s essential to preserve higher values and [wa]S narrowly

tailored to serve th[ose] interest[s].” Lugosch, 435 F.3d at 121

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(quoting In re New York Times Co., 828 F.2d 110, 116 (2d Cir.

 

1987)) (internal quotation marks omitted) .°
For the foregoing reasons, the Court issued a bottom-line

Order dated March 15, 2021, providing:

1. The Government must file an unredacted version of ECF No. 224
on the docket by 11:59 p.m. today [i.e., March 15].

2. When an exhibit is received into evidence at trial in this
action, the offering party must make the document accessible
to the public and the press by no later than 11:59 p.m. the
following day.® If the version of the document received into
evidence contains redactions, then the version made
accessible to the public shall contain the same redactions.

3. Before making an exhibit accessible to the public, the
offering party must confer with the other parties regarding
any further redactions the parties would like to make, beyond
those redactions contained in the version received in
evidence. Such further redactions should be clearly

distinguishable from the redactions present on the version

 

5 The Court also permitted the parties to retain redactions
that were already present on the trial exhibit, as received in
evidence at trial, regardless of the bases for those redactions,
because the “judicial documents” to which the reporter sought
access were the trial exhibits in the form received in evidence.

6 The offering party may do this by any reasonable means, e.g., by

posting the exhibits on a publicly accessible website for a
reasonable duration.

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received in evidence, and the basis for each such further
redaction should be stated on the face of the document (e.g.,
“PII” for “sensitive personally identifying information”).

4, All exhibits already in evidence must be made accessible to

 

the public in accordance with the procedure’ stated
immediately above by no later than 11:59 p.m. tomorrow [i.e.,
March 16].

Counsel for all parties subsequently informed the Court that they

had complied with this Order.

Dated: New York, NY (hks

April 1, 2021 JED & RAKOFF, U4.D.d.

 

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